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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF CONNECTICUT

JOSEPH VELLALI, et al.,
                                             Civil Action No. 3:16-cv-01345-AWT
                   Plaintiffs,
      V.


YALE UNIVERSITY, et al.,
                                             Hon. Alvin W. Thompson

                   Defendants.


                       DECLARATION OF HUGH K. PENNEY

      I, Hugh K. Penney, declare pursuant to 28 U.S.C. § 1746 that the factual

statements set forth below are true and correct to the best of my knowledge,

information, and belief based on my personal experience and my review of relevant

documents maintained by Yale University.       If called and sworn as a witness, I

would competently testify to these facts. I respectfully submit this declaration in

support of Defendants' Motion to Dismiss.

       1.    I am employed by Yale University as Senior Director, Compensation

and Benefits. As part of my job responsibilities, I am familiar with the operation of

the Yale University Retirement Account Plan (the "Plan") and with documents

related thereto.

      2.     As plan sponsor of the Yale University Retirement Account Plan (the

"Plan"), the University has access to a database that confirms whether individuals

are participants in the Plan.

      3.     According to the plan sponsor database, plaintiff Tara Heard is not

now and never has been a participant in the Plan.
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      4.     Likewise, plaintiff Ranay Cirillo 1s not now and neve1· has been a

participant in the Plan.

      5.     Attached hereto as Exhibit A is a true and correct copy of the Yale

University Retirement Account Plan, amended and restated effective as of July 1,

2015, which is available at http://your.yale.edu/sites/default/files/yurap_plan_

document_06_30_2016_signed.pdf.

      6.     Attached hereto as Exhibit B is a true and correct copy of the

Summary Plan Description for the Plan, effective July 1, 2016, which is available at

http://your.yale.edu/sites/default/files/2016_yurap_spd_v1_06-23-16.sf_.final_.pdf.

      7.     Attached hereto as Exhibit C is a true and correct copy of the Annual

Report/Report of Employee Benefit Plan (Fmm 5500) for the Plan for the fiscal plan

year beginning July 1, 2013, and ending June 30, 2014, which was filed with the

U.S. Department of Labor on April13, 2015.

      8.     Attached hereto as Exhibit D is a true and correct copy of the 2016

Plan and Investment Notice for the Plan which is available at https://www.tiaa.org/

public/pdf/obiee/ 1023 7 3_Plan_Investment_Notice. pdf.



      I declare under penalty of perjury that the foregoing 1s true and correct.

Executed on October 17, 2016, in New Haven, Connecticut.




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                                   CERTIFICATE OF SERVICE

       I hereby certify that, on October 17, 2016, a copy of the foregoing was filed

electronically using the Court’s CM/ECF system, which will provide notice of the

filing to all counsel of record.

                                               /s/ Brian D. Netter
                                               Brian D. Netter
